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   VERY UNFAIR VENUE, WITH SOME AREAS THAT VOTED 1% REPUBLICAN. THIS
   CASE SHOULD BE MOVED TO NEARBY STATEN ISLAND - WOULD BE A VERY FAIR
   AND SECURE LOCATION FOR THE TRIAL. ADDITIONALLY, THE HIGHLY PARTISAN
   JUDGE & HIS FAMILY ARE WELL KNOWN TRUMP HATERS. HE WAS AN UNFAIR
   DISASTER ON A PREVIOUS TRUMP RELATED CASE, WOULDN’T RECUSE, GAVE
   HORRIBLE JURY INSTRUCTIONS, & IMPOSSIBLE TO DEAL WITH DURING THE
   WITCH HUNT TRIAL. HIS DAUGHTER WORKED FOR “KAMALA” & NOW THE BIDEN-
   HARRIS CAMPAIGN. KANGAROO COURT!!!
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